       Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 1 of 11                    FILED
                                                                                2017 May-15 PM 07:42
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


          IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION
 BEVERLY BRABHAM,
      PLAINTIFF,
                            CV NO.: 2:17-CV- 335-TMP
 V.

 JEFFERSON COUNTY
 ALABAMA, et. al.,
       DEFENDANTS.




     PLAINTIFF’S FIRST AMENDED AND RESTATED COMPLAINT

      Plaintiff Beverly Brabham hereby files this Complaint, stating as follows:

                                JURISDICTION

      This is an action at law to redress the deprivation under color of statute,

ordinance, regulation, custom or usage of a right, privilege and immunity secured to

Plaintiff by the Fourth and Fourteenth Amendment to the United States Constitution

and 42 U.S.C. § 1983, and arising under law and statutes of the State of Alabama

and accordingly, the jurisdiction of this Court is invoked under 28 U.S.C.

§1343(a)(3) and 28 U.S.C. § 1367 for any applicable pendent state law claims.




                                                                                   1
          Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 2 of 11



                                                 PARTIES1

        1.       At all material times, Plaintiff, Beverly Brabham was, and still is, a

citizen of the United States residing in Adamsville, Alabama and is over the age of

18.

        2.       At all material times, Defendant, Mark K. Bassett, a resident of Walker

County, Alabama is a Sheriff’s Deputy employed by The Jefferson County Sheriff’s

Department and acting under the color of law. He is sued in his individual and

official capacity.

        3.       At all material times, Defendant, Nicholas Vasilakis, a resident of

Jefferson County, Alabama is a Sheriff’s Deputy employed by The Jefferson County

Sheriff’s Department and acting under the color of law. He is sued in his individual

and official capacity.

        4.       At all material times, Defendant, Ryan Strickland, a resident of Walker

County, Alabama, is a Sheriff’s Deputy employed by The Jefferson County Sheriff’s

Department and acting under the color of law. He is sued in his individual and

official capacity.




1 Since Plaintiff has amended her complaint and removed Jefferson County and Sheriff Mike Hale as Defendant
Plaintiff requests that the caption of the case be changed to Beverly Brabham v. Mark Bassett, Nicholas Vasilakis,
Ryan Strickland D. Gooch, and C. Christensen.

                                                                                                                     2
          Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 3 of 11



        5.       At all material times, Defendant, D. Gooch, a resident of Jefferson

County, Alabama, is a Sheriff’s Deputy employed by The Jefferson County Sheriff’s

Department and acting under the color of law. He is sued in his individual and

official capacity.

        6.       At all material times, Defendant, C. Christensen, a resident of Walker

County, Alabama is a Sheriff’s Deputy employed by The Jefferson County Sheriff’s

Department and acting under the color of law. He is sued in his individual and

official capacity.

        7.       At all times material hereto, the acts, omission, practices and other

conduct of the Defendant was committed under color of state of local law.

        8.       At all times material hereto, the acts and omissions of the Defendant

were committed by Deputies, Bassett, Christesen, Vasilakis, Strickland and Gooch,

employees of the Jefferson County Sheriff’s Department Police Department, each

acting within the course and scope of his employment as a police officer.

                                                         FACTS

        9.       On February 25, 2016, Ms. Brabham was at her home in Adamsville,

Alabama when a domestic dispute erupted between herself and her live-in partner2,

Donald Mooneyham.


2 Brabham also refers to herself as Beverly Mooneyham.

                                                                                     3
          Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 4 of 11



      10.     Fearing that the argument would escalate to violence, Ms. Brabham

telephoned Jefferson County 911.

      11.     During the call, Ms. Brabham told the operator that she feared that

someone would “die tonight” if Mooneyham did not leave the shared residence.

      12.     Brabham further told the operator that she wanted Mr. Mooneyham to

leave because he had a gun and all she had was a knife to protect herself.

      13.     During the 911 call, Mooneyham left the residence, but Brabham stayed

on the telephone line with the operator.

      14.     When Mooneyham left the residence, Brabham said that Mooneyham

would not point the gun at the police.

      15.     Brabham then said that she had to protect herself because she was afraid

of him.

      16.     The 911 operator asked Brabham whether she had the knife in her hand.

      17.     Brabham replied that she did not have the knife in her hand and that it

was in the kitchen drawer.

      18.     Brabham said she just wanted “to be safe tonight” and assured the

officer that she had put the knife away.

      19.     When the Sheriff’s Deputies arrived on the scene, the situation had de-

escalated.

                                                                                    4
       Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 5 of 11



      20.    In spite of this, the Defendant Deputies pulled their service weapons

and demanded that she exit her home.

      21.    Seeing that there were several weapons trained on her, Brabham told

the deputies that she did not want to exit her home.

      22.    The deputies responded in anger and kept their weapons trained on the

entrance to the home.

      23.    Since she believed that the situation was resolved, Brabham further told

the deputies that she did not need them to intervene in the situation.

      24.    Eventually, the female deputy asked Brabham if she would open the

door to make sure that everything was okay.

      25.    Before Brabham could answer, Deputy Bassett said, “I drove here at

100 miles per hour, she’s going to jail tonight.”

      26.    Thereafter, Bassett proceeded to use his bully bar to break into the

residence.

      27.    Once inside, Bassett and the other deputies grabbed Brabham, frisked

her and arrested her.

      28.    Defendants arrested Brabham and taken to the Jefferson County Jail.




                                                                                   5
       Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 6 of 11



      29.   Once there, Defendant Bassett charged Brabham with two

misdemeanors, Disorderly Conduct and Making a False Report, both Class C

misdemeanors under Alabama law.

      30.   Under Alabama law, “[a]n officer may arrest a person without a

warrant, …[i]f a public offense has been committed or a breach of the peace

threatened in the presence of the officer. Ala. Code § 15-10-3

      31.    No public offense or breach of the peace had been committed in the

presence of the Defendants.

      32.   The Deputies had no probable cause to arrest Brabham on the charge of

Disorderly Conduct.

      33.   The deputies had no probable cause to arrest Brabham on the charge of

Making a False Report.

      34.   Thereafter, Defendants transported Brabham to the Jefferson County

Jail where she remained for several hours before she could be processed and released

on her own recognizance.

      35.   Brabham was made to appear in Jefferson County District Court to

defend case numbers DC-16-2300 and DC-16-2301.




                                                                                  6
       Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 7 of 11



      36.    Defendants failed to attend the Court hearings that were scheduled until

the charges against her were finally dismissed for want of prosecution on October

19, 2016.

      37.    The Fourth Amendment to The United States Constitution states “[t]he

right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures, shall not be violated, and no Warrants shall

issue, but upon probable cause, supported by Oath or affirmation, and particularly

describing the place to be searched, and the persons or things to be seized.”

      38.    Because of Defendants conduct, Ms. Brabham suffered physical and

psychological injuries.

      39.    Because of Defendants’ conduct, Ms. Brabham’s quality of life has

suffered substantially.

      40.    At no time did Ms. Brabham do anything to justify a warrantless

seizure.

      41.    At no time did Ms. Brabham do anything to justify Deputy Bassett in

swearing out two warrants against her.

                  COUNT I - 42 U.S.C. § 1983 - ILLEGAL SEIZURE

                            AGAINST ALL DEFENDANTS




                                                                                     7
        Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 8 of 11



      42.    Each of the preceding paragraphs of this Complaint is incorporated and

re-alleged as if fully restated herein.

      43.    On or about February 25, 2016, Defendants, acting under color of law

within the meaning of 42 U.S.C. § 1983, entered plaintiffs home without probable

cause or reasonable suspicion and without a warrant.

      44.    Defendants did thereby deprive plaintiff of her rights under the Fourth

and Fourteenth Amendments to the Constitution of the United States in violation of

42 U.S.C. § 1983. Specifically, Defendants violated Plaintiff’s right to be free from

unlawful searches and seizures.

      45.    On or about February 25, 2016, Defendants, acting under color of law

within the meaning of 42 U.S.C. § 1983, seized plaintiff without probable cause or

reasonable suspicion and without a warrant.

      46.    Defendants did thereby deprive plaintiff of her rights under the Fourth

and Fourteenth Amendments to the Constitution of the United States in violation of

42 U.S.C. § 1983. Specifically, Defendants violated Plaintiff’s right to be free from

unlawful searches and seizures.

      47.    As a result of the conduct of the Defendants, Plaintiff has been caused

to suffer physical and emotional injuries and damages, embarrassment, and

humiliation and has been caused to incur other expenses.

                                                                                   8
        Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 9 of 11



                   COUNT II - MALICIOUS PROSECUTION

                               AGAINST MARK BASSETT

       48.    Each of the paragraphs of this Complaint is re-alleged and incorporated

as if fully restated herein.

       49.    Defendant, Bassett, initiated a judicial proceeding against Plaintiff for

Disorderly Conduct on or about March 11, 2016.

       50.    That warrant, which arose out of the illegal detention for making

Officer Bassett come to the scene lacked probable cause.

       51.    Defendant Bassett’s actions, in swearing out a warrant because he

believed he had driven to the scene at 100 miles an hour.

       52.    On or about November 7, 2016, the proceeding instituted in Jefferson

County, Alabama was dismissed in favor of Brabham.

       53.    Because of Defendant’s malicious actions, Plaintiff must suffer the

indignity of having an arrest for disorderly conduct on her record, was detained for

several hours, and was subjected to attending multiple court appearances until the

case was eventually dismissed.

  WHEREFORE, Plaintiff Brabham prays this Court grant the following relief on

his state law claim.

   A. Judgment for compensatory damages against the Defendant;

                                                                                     9
      Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 10 of 11



  B. Judgment for punitive damages against the Defendant

  C. Judgment for pre-judgment interest on all economic losses and for delay in

     payment against each the Defendant;

  D. A trial by jury on all issues so triable; and

  E. Such other and further relief that this Court may deem just, proper and

     appropriate against the Defendant.

  F. Plaintiff seeks compensatory and punitive damages, costs, attorneys’ fees,

     interest, and any other relief allowed under Alabama law.


     Respectfully submitted, this the 15th day of May 2017.


                                            /s/Kira Fonteneau
                                            Kira Fonteneau (ASB-7338-K58F)


OF COUNSEL:
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205.502-4476 Facsimile

            PLAINTIFF DEMANDS TRIAL BY STRUCK JURY


PLEASE SERVE DEFENDANT AS FOLLOWS:
Mark K. Bassett
323 Phillips Chapel Rd
Empire, Al 35063-3901
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      Case 2:17-cv-00335-TMP Document 15 Filed 05/15/17 Page 11 of 11




Nicholas Vasilakis
2162 Great Rock Rd
Vestavia, Al 35216-2134

C. Christesen
2200 8th Ave North
Birmingham AL, 35203

Ryan Strickland
139 Curtis Rd
Jasper, Al 35503-4002

D. Gooch
2200 8th Ave North
Birmingham AL, 35203

Respectfully submitted this 15th day of May 2017.

                                                /s/Kira Fonteneau
                                                Attorney for plaintiff




                                                                         11
